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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MBALAMINWE MWIMANZI,

                                Plaintiff,
             v.                                      Case No. 20-cv-00079 (CRC)

 JOSHUA WILSON, et al.,

                                Defendants.



            THE PARTIES’ JOINT MOTION TO STAY THE PROCEEDINGS

       The parties jointly request, under Fed. R. Civ. P. 7, that the Court stay all proceedings in

this matter for 60 days, until May 23, 2022, to allow the parties to engage in settlement

negotiations. Once the 60-day period expires, the parties propose to submit a status report

informing the Court of their progress and specifying what, if any, additional proceedings are

required in this matter. Good cause exists for the parties’ requested relief.

       A memorandum of points and authorities in support of the motion is attached. A

proposed order is also attached for the Court’s consideration.

     March 22, 2022                           Respectfully submitted,


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                                              Tara Patel (D.C. Bar No. 1616930)
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MBALAMINWE MWIMANZI,

                               Plaintiff,
             v.                                     Case No. 20-cv-00079 (CRC)

 JOSHUA WILSON, et al.,

                               Defendants.



MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE PARTIES’
           JOINT MOTION TO STAY THE PROCEEDINGS

       The parties submit this memorandum of points and authorities in support of their joint

motion to stay the proceedings.

                                       INTRODUCTION

       Good cause exists to stay the proceedings. A stay will allow the parties to engage in

settlement discussions and would conserve the Court’s resources.

                                             FACTS

       Plaintiff Mbalaminwe Mwimanzi sued Officer Joshua Wilson under 42 U.S.C. § 1983 for

allegedly violating his rights when he was searched under a warrant in a private residence. See

Am. Compl. On July 1, 2021, Mwimanzi moved to amend the complaint to add the District of

Columbia as a defendant under § 1983. See Pl.’s Mot. to Amend [24]. Mwimanzi filed a motion

for partial summary judgment against the District and the defendants moved for summary

judgment. See Pl.’s Mot. for Partial Summ. J. [32]; Defs.’ Mot. for Summ. J. [27].

       On March 8, 2022, the Court granted Plaintiff’s Motion To Amend, granted Plaintiff’s

Contingent Motion for Partial Summary Judgment, and denied in part Defendants’ Motion for


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Summary Judgment. See March 8, 2022 Mem. Op. [40] The lead counsels for the defendants in

this action each have out-of-town commitments in April. The parties plan to engage in

settlement negotiations, which they hope will resolve this action. They now move to stay the

proceedings.

                                      LEGAL STANDARD

     A request for a court order must be made by motion. The motion must:
               (A) be in writing unless made during a hearing or trial;
               (B) state with particularity the grounds for seeking the order; and
               (C) state the relief sought.
                                              ARGUMENT

       Staying the proceedings by 60 days will allow the parties to engage in substantive

negotiations. “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). In determining

whether to grant a stay, the Court must “‘weigh competing interests and maintain an even

balance’ between the court's interests in judicial economy and any possible hardship to the

parties.” Belize Soc. Dev. Ltd. v. Gov't of Belize, 668 F.3d 724, 732–33 (D.C. Cir. 2012) (quoting

Landis, 299 U.S. at 254–55).

       The Court’s March 8, 2022 Order granting Plaintiff’s Motion To Amend, granting

Plaintiff’s Contingent Motion for Partial Summary Judgment, and denying in part Defendants’

Motion for Summary Judgment have clarified the Court’s position on the legal issues in the case.

With the Court’s Orders in mind, the parties now plan to engage in settlement negotiations,

which they hope will resolve this action. The 60-day period is needed because lead counsels for

the defendants in this action each have out-of-town commitments in April and have to consult


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with clients to obtain settlement authority. Staying the proceedings by 60 days will allow the

parties to engage in substantive negotiations despite defense counsels’ obligations.

       By creating opportunities for settlement, which in turn would obviate the need for further

proceedings, the proposed stay will promote judicial economy. And because the parties jointly

seek this relief, neither party will suffer prejudice. For these reasons, the motion should be

granted.

     March 22, 2022                           Respectfully submitted,


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